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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVIS ION

       UNITED STATES OF       AMERICA           )
                                                )
           v.                                   )      Criminal No.:3:22-CR-00008
                                                )
       TRAEVON      GRAY                        )
                                                )

                                         STATEMENT OF F'ACTS

            The parties stipulate that the allegations contained in the Indictment and the following
    facts are true and correct, and that had this matter gone to trial, the United States would have
    proven each ofthese facts beyond a reasonable doubt.

             Traevon GRAY planned to rob a marijuana dealer. GRAY and the marijuana dealer
    know each other from school, and GRAY has been to the marijuana dealer's house in Albemarle
    County on different occasions. Albemarle County is located in the Western District of Virginia.
    To further his plan, GRAY asked Damon WILLIAMS to join him.

           On October 26,2021, WILLIAMS traveled from South Carolina to GRAY's home in
    Albemarle Counf, where WILLIAMS and GRAY furlher planned the robbery. On the
    morning of October 27,2021, GRAY and WILLIAMS entered the marijuana dealer's residence
    in Albemarle County through a back door and without permission of any resident of the home.
    Both were armed with firearms. Once inside, they located D.S., a resident of the home, and
    forced him from his upstairs bedroom to the downstairs kitchen. In the kitchen, they ordered
    him to lay face down on the floor, where either GRAY or WILLIAMS held D.S. at gunpoint
    while the other searched the residence. At some point, GRAY and WILLIAMS took D.S.'s
    cellphone. GRAY then bound D.S.'s hands with tape, punched him in the face, and pushed him
    into a kitchen pantry. GRAY and WILLIAMS fled the residence with approximately two
    pounds of marijuana, THC wax, several thousand dollars in cash, a firearm belonging to the
    marijuana dealer, and other items.

           After the robbery, GRAY and WILLIAMS drove to Spartanburg, South Carolina, where
    they divided up the robbery proceeds and photographed themselves with the drug proceeds they
    had stolen. At his arrest; federal agents seized the stolen firearm from GRAY's residence,
    along with another firearm. At his arrest, federal agents seized 58400 in US currency,
    marijuana, and THC wax from WILLIAMS's residence.

           GRAY's and WILLIAMS's actions affected interstate commerce.



    Defendant's Inttials:   a/,
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             The actions taken by GRAY as described above were taken willfully, knowingly, and
     with the specific intent to violate the law. GRAY did not take those actions by accident, mistake,
     or with the belief that they did not violate the law. GRAY acknowledges that the purpose of the
     foregoing statement of facts is to provide an independent factual basis for his guilty plea. It
     does not necessarily identiff all of the persons with whom the defendant might have engaged in
     illegal activity.

                                                          Respectfully su


                                                                     Carlton
                                                          Assistant United States Attorney


            After consulting with my attorney and pursuant to the plea agreement entered into this
     day,   I stipulate that the above Statement ofFacts is true and accurate, and that had the matter
     proceeded to trial, the United States would have proved the same beyond a reasonable doubt.

                                                              frn*ar.       Crru,/

            I am Traevon GRAY's attomey. I have carefully reviewed the above Statement of Facts
     with him. To my knowledge, his decision to stipulate to these facts is an informed and voluntary
     one-




                                                          Erin Trodden, Esquire
                                                          Counsel for Defendant




     Defendant's Initials,   f,_
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